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 1   BENJAMIN B. WAGNER
     United States Attorney
 2   R. STEVEN LAPHAM
     Assistant U.S. Attorney
 3   501 I Street, Ste 10-100
     Sacramento, CA 95814
 4   Telephone (916) 554-2724
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 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          )    CASE NO. CR-S-08-468 KJM
                                        )
12                     Plaintiff,       )    GOVERNMENT’S MOTION TO DISMISS
                                        )    COUNTS 10 THROUGH 13 OF THE
13   v.                                 )    INDICTMENT; ORDER
                                        )
14   MARIA SANTA, et al,                )
                                        )
15                     Defendants.      )
                                        )
16
17        Pursuant to Rule 48(a) of the Federal Rules of Criminal
18   Procedure, plaintiff United States of America, by and through its
19   undersigned attorney, hereby moves this Honorable Court for an
20   Order dismissing Counts 10, 11, 12 and 13 of the Indictment in the
21   above-entitled matter as to all defendants.
22   DATED: March 30, 2012
23                                           BENJAMIN B. WAGNER
                                             United States Attorney
24
25                                     By:    /s/ R. Steven Lapham
                                             R. STEVEN LAPHAM
26                                           Assistant U.S. Attorney
27
28
              Case 2:08-cr-00468-KJM Document 222 Filed 04/04/12 Page 2 of 2


 1                                        O R D E R
 2
 3        IT IS SO ORDERED:
 4   DATED:     April 3, 2012.
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 6                                                    UNITED STATES DISTRICT JUDGE
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